         CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 1 of 29




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


SHANNON BRANCHAUD, individually
and on behalf of all others similarly situated,

                      Plaintiff,                  Court File No.: 0:20-cv-02450-MJD-LIB

       v.

YOUNG LIVING ESSENTIAL OILS, LC,

                      Defendant.


         DEFENDANT YOUNG LIVING ESSENTIAL OILS, LC’S
    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS
     MOTION TO TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404(A)
         CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 2 of 29




                                           TABLE OF CONTENTS

I.     INTRODUCTION .................................................................................................... 1

II.    BACKGROUND ...................................................................................................... 3

III.   LEGAL STANDARD .............................................................................................. 6

IV.    ARGUMENT ........................................................................................................... 8

       A.       The Court Should Enforce the Parties’ Agreed-Upon, Mandatory
                Forum-Selection Clauses Under § 1404(a). .................................................. 8

                1.        Plaintiff Consented to the Agreement and Its Forum-Selection
                          Clauses. .............................................................................................. 8

                2.        The Forum-Selection Clauses Apply to Plaintiff’s Claims. ............. 10

                3.        The Forum-Selection Clauses Are Valid and Enforceable. ............. 13

                4.        The Public Interest Factors Weigh in Favor of Transferring the
                          Case to the District of Utah. ............................................................. 15

       B.       Alternatively, the Court Should Transfer this Case to the District of
                Utah Because It Is the More Convenient Venue. ........................................ 17

                1.        The District of Utah Is a Proper Venue. ........................................... 18

                2.        The Convenience of the Parties and Witnesses Favors Transfer
                          to Utah. ............................................................................................. 18

                3.        The Interests of Justice Favor Transfer to Utah. .............................. 19

V.     CONCLUSION ...................................................................................................... 22




                                                              i
            CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 3 of 29




                                         TABLE OF AUTHORITIES

                                                                                                                   Page(s)

Cases

Airtel Wireless, LLC v. Mont. Elec. Co.,
   393 F. Supp. 2d 777 (D. Minn. 2005) .......................................................................... 15

Ansari v. Qwest Commc’ns Corp.,
   414 F.3d 1214 (10th Cir. 2005) ..................................................................................... 1

In re Apple, Inc.,
    602 F.3d 909 (8th Cir. 2010) ........................................................................... 18, 19, 20

Atl. Marine Constr. Co. v. U.S. Dist. Ct.,
    571 U.S. 49 (2013) ................................................................................................ passim

Bae Sys. Land & Armaments L.P. v. Ibis Tek, LLC,
   124 F. Supp. 3d 878 (D. Minn. 2015) ...................................................................... 8, 13

Brown v. Glob. Cashspot Corp.,
   2017 WL 3278938 (D. Minn. July 14, 2017) .............................................................. 14

DesignSense, Inc. v. MRIGlobal,
   2013 WL 3205569 (D. Mo. June 25, 2013) ................................................................. 11

Dominion Austin Partners, L.L.C. v. Emerson,
  248 F.3d 720 (8th Cir. 2001) ....................................................................................... 21

Econo-Car Int’l, Inc. v. Antilles Car Rentals, Inc.,
   499 F.2d 1391 (3d Cir. 1974)......................................................................................... 1

Fleet Tire Serv. of N. Little Rock v. Oliver Rubber Co.,
   118 F.3d 619 (8th Cir. 1997) ................................................................................. 11, 12

Gen. Mills Operations, LLC v. First Star Custom Foods, Ltd.,
  789 F. Supp. 2d 1148 (D. Minn. 2011) .............................................................. 8, 14, 16

Graphic Sys., Inc. v. Avanti Comput. Sys. Ltd.,
   2018 WL 1277007 (D. Minn. Mar. 12, 2018) (Davis, J.) .............................................. 7

Heath v. Travelers Cos.,
  2009 WL 1921661 (D. Minn. July 1, 2009) .................................................................. 9




                                                              ii
            CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 4 of 29




Hitachi Cap. Am. Corp. v. McCollum,
   2020 WL 3977229 (D. Minn. July 14, 2020) .................................................. 13, 14, 15

Hughes v. Wal-Mart Stores, Inc.,
  250 F.3d 618 (8th Cir. 2001) ................................................................................. 17, 21

Inland Bulk Transfer Co. v. Cummins Engine Co.,
    332 F.3d 1007 (6th Cir. 2003) ....................................................................................... 1

Klatte v. Buckman, Buckman & Reid, Inc.,
   995 F. Supp. 2d 951 (D. Minn. 2014) ........................................................ 17, 19, 20, 21

Leonard v. Del. N. Cos. Sport Serv.,
   861 F.3d 727 (8th Cir. 2017) ....................................................................................... 11

Lewallen v. Green Tree Servicing, L.L.C.,
   487 F.3d 1085 (8th Cir. 2007) ....................................................................................... 1

M.B. Rests., Inc. v. CKE Rests., Inc.,
   183 F.3d 750 (8th Cir. 1999) ................................................................................... 6, 15

M/S Bremen v. Zapata Off-Shore Co.,
   407 U.S. 1 (1972) ........................................................................................................... 6

Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Lauer,
  49 F.3d 323 (7th Cir. 1995) ........................................................................................... 1

O’Shaughnessy v. Young Living Essential Oils, LC,
   No. 1:19-cv-00412-LY, ECF No. 74 (W.D. Tex. June 29, 2020) ........................... 2, 10

Penhall v. Young Living Essential Oils, LC,
   3:19-cv-02340-JLS-RBB, ECF No. 36-1 (S.D. Cal. Aug. 17, 2020) ...................... 2, 10

Perrill v. Equifax Info. Servs., LLC,
   2014 WL 2986665 (D. Minn. June 30, 2014) (Davis, J.) .................................... 7, 8, 21

Rasschaert v. Frontier Commc’ns Corp.,
   2013 WL 1149549 (D. Minn. Mar. 19, 2013) ............................................................... 9

Servewell Plumbing, LLC v. Fed. Ins. Co.,
   439 F.3d 786 (8th Cir. 2006) ....................................................................................... 14

Siebert v. Amateur Athletic Union of the U.S., Inc.,
   422 F. Supp. 2d 1033 (D. Minn. 2006) .......................................................................... 9



                                                               iii
            CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 5 of 29




Terra Int’l, Inc. v. Miss. Chem. Corp.,
   119 F.3d 688 (8th Cir. 1997) ........................................................................... 13, 17, 21

In re Trusteeship Created by JER CRE CDO 2005-1, Ltd.,
    No. 12-2791 (MJD/JSM), 2013 WL 1364258 (D. Minn. Apr. 4, 2013) ..................... 19

UAW v. Gen. Elec. Co.,
  714 F.2d 830 (8th Cir. 1983) ....................................................................................... 13

In re Union Elec. Co.,
    787 F.3d 903 (8th Cir. 2015) ......................................................................................... 6

United Fire & Cas. Co. v. Weber, Inc.,
   434 F. Supp. 3d 729 (D. Minn. 2020) ............................................................................ 6

Statutes

28 U.S.C. § 1332(d)(2) ...................................................................................................... 18

28 U.S.C. § 1391(b)(1) ...................................................................................................... 18

28 U.S.C. § 1391(c)(2) ...................................................................................................... 18

28 U.S.C. § 1404(a) .................................................................................................... passim

Other Authorities

United States District Courts, National Judicial Caseload Profile (2020),
   available at
   https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distpr
   ofile0930.2020.pdf ....................................................................................................... 16




                                                              iv
          CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 6 of 29




I.      INTRODUCTION

        Plaintiff Shannon Branchaud (“Plaintiff”) agreed with Defendant Young Living

Essential Oils, LC (“Young Living”) that any dispute “arising out of or relating to” the

parties’ agreement will be settled by arbitration in Salt Lake City, Utah, and that in “any

legal action not subject to arbitration,” venue will be in Salt Lake City, Utah. See Ex. A at

§ 11; Ex. B at §§ 13.2.2-13.3.1 Young Living asks the Court to transfer this case to the

District of Utah, Salt Lake City Division pursuant to 28 U.S.C. § 1404(a), where it will

seek to compel arbitration.2

        As explained further below, Plaintiff is a Young Living independent distributor, or

“member,” and through the member agreements establishing that relationship purchased

essential oils that form the basis of her complaint. To become a member of Young Living,


1
     Unless otherwise noted, all exhibit references are to the Declaration of K.C. Barrow
     (“Barrow Decl.”).
2
     Young Living seeks to transfer before seeking to compel arbitration because most
     courts have held that only a district court in the agreed-upon forum has authority to
     compel arbitration under the Federal Arbitration Act. See, e.g., Ansari v. Qwest
     Commc’ns Corp., 414 F.3d 1214, 1219-1220 (10th Cir. 2005); Inland Bulk Transfer
     Co. v. Cummins Engine Co., 332 F.3d 1007, 1018 (6th Cir. 2003); Merrill Lynch,
     Pierce, Fenner & Smith, Inc. v. Lauer, 49 F.3d 323, 327 (7th Cir. 1995); Econo-Car
     Int’l, Inc. v. Antilles Car Rentals, Inc., 499 F.2d 1391, 1394 (3d Cir. 1974). Seeking to
     transfer first thus comports with the parties’ agreement both to bring any legal actions
     in Utah, and that arbitration would be conducted there. Young Living expressly
     reserves its right to seek to compel arbitration. See Lewallen v. Green Tree Servicing,
     L.L.C., 487 F.3d 1085, 1090 (8th Cir. 2007) (a party safeguards its right to pursue
     arbitration by doing “all it could reasonably have been expected to do to make the
     earliest feasible determination of whether to proceed judicially or by arbitration”).

     The parties met and conferred regarding these issues on December 18, 2020, and
     subsequently stipulated that Young Living would move to transfer venue before seeking
     to compel arbitration. See Dkt. No. 5 at 2.


                                               1
         CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 7 of 29




Plaintiff agreed to Young Living’s U.S. Member Agreement, which provides, through two

valid, mandatory forum-selection clauses, that disputes between the parties—including the

kind at issue here—be resolved exclusively in Salt Lake City, Utah. See Ex. B at §§ 13.2.2-

13.3; Ex. A at § 11. The United States Supreme Court has been clear: “When the parties

have agreed to a valid forum-selection clause, a district court should ordinarily transfer the

case to the forum specified in the clause.” Atl. Marine Constr. Co. v. U.S. Dist. Ct., 571

U.S. 49, 59-60 (2013). Indeed, recognizing the validity of these provisions, two other

federal courts have recently transferred putative class actions by other Young Living

members to the District of Utah pursuant to forum-selection clauses functionally identical

to the one at issue here. See O’Shaughnessy v. Young Living Essential Oils, LC, 1:19-cv-

00412-LY, ECF No. 74 at 9 (W.D. Tex. June 29, 2020); Penhall v. Young Living Essential

Oils, LC, 3:19-cv-02340-JLS-RBB, ECF No. 36-1 (S.D. Cal. Aug. 17, 2020). 3

       Transfer is also appropriate because Salt Lake City is clearly the more convenient

forum. Because Young Living and its employees reside and do business in Utah, it is

highly likely that most, if not all, of the relevant evidence will be located there. And as

this Court has acknowledged in other class actions, Plaintiff’s Minnesota residence is of

little import because she seeks to represent a putative nationwide class.

       Thus, either analysis warrants the same result: this case should be transferred to the

District of Utah, Salt Lake City Division pursuant to 28 U.S.C. § 1404(a).


3
    For the Court’s convenience, these orders are attached as Exhibits A-B to the
    Declaration of Steven L. Schleicher (“Schleicher Declaration”) filed concurrently with
    this motion.

                                              2
         CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 8 of 29




II.    BACKGROUND

       Young Living is a company that makes essential oils and wellness products. A

consumer can purchase these products at retail prices, or, alternatively, can sign up to

become a Young Living member and purchase the products at wholesale prices. Barrow

Decl. at ¶ 16.

       Plaintiff has been a Young Living member since at least 2014. Barrow Decl. at ¶

10. To create her membership, Plaintiff agreed to be bound by the terms of the Young

Living member agreement. Id. To continue her membership, she has also agreed to be

bound by amended versions of the Young Living member agreement from time to time.

Id. Most recently, in February 2020, Plaintiff expressly agreed to be bound by Young

Living’s (1) updated U.S. Member Agreement; (2) updated U.S. Policies and Procedures;

and (3) updated Compensation Plan, all of which were distributed to members prior to and

went into effect on January 1, 2020 (collectively, the “Agreement”). See Barrow Decl. at

¶¶ 10-15 and Exs. A-C.

       More specifically, Young Living membership records show that Plaintiff logged

into her member account on the Young Living website on February 4, 2020. Barrow Decl.

at ¶ 11. Upon accessing her account, the screen displayed the following:

       I have read and agree to be bound by the terms and conditions of the
       Agreement (which includes this Member Agreement, the Policies and
       Procedures, Privacy Policy, and the Compensation Plan). I certify that I am
       18 years old and legally able to enter into the Agreement. I understand that
       I have the right to terminate my Young Living Member Agreement at any
       time, with or without reason, by sending written notice to the Company at
       the above listed address. I understand that I must purchase one of the
       enrollment options in order to qualify as a member and receive whole sale
       pricing.

                                            3
         CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 9 of 29




Barrow Decl. at ¶ 11.

       Below this text, there were five hyperlinks titled: (1) Policies & Procedures; (2)

Compensation Plan; (3) Terms and Conditions of the Compensation Plan; (4) Privacy

Policy; and (5) Member Agreement. Id. at ¶ 12. Below these hyperlinks, there was a

checkbox and clear explanation of what clicking it meant: “By clicking this box, I agree

to these statements and to be bound by the terms and conditions of the Agreement. . . .” Id.

at ¶ 14. Young Living computer systems recorded Plaintiff’s decision to click the checkbox

on February 4, 2020, and then click “Agree and Continue,” thus confirming acceptance of

the updated Agreement. Id. at ¶ 15.

       The Agreement accepted by Plaintiff in that process contains two mandatory forum-

selection clauses and a binding arbitration clause, which together require that all disputes

between the parties be resolved in Salt Lake City, Utah:

       [A]ny controversy or claim arising out of or relating to the Agreement, or
       the breach thereof, will be settled by arbitration.
       ...
       All arbitration proceedings will be held in Salt Lake City, Utah
       ....
       Jurisdiction and venue of any matter not subject to arbitration will reside
       exclusively in any state or federal court located in Salt Lake City, Utah
       ....
       The parties consent to jurisdiction and venue before any state or federal court
       located in Salt Lake City, Utah, for any legal action not subject to arbitration
       ....

See Ex. B at §§ 13.2.2-13.3 (emphases added); Ex. A at § 11 (emphasis added). 4


4
    The Agreement also specifies that “[t]he Agreement will be governed by and construed
    in accordance with the laws of the State of Utah without regard to principles of conflicts
    of laws.” Ex. B at § 13.3.

                                              4
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 10 of 29




       Further, the Agreement also expressly governs the parties’ rights and

responsibilities with respect to members’ purchases of, and disputes regarding, Young

Living products.    For instance, the Agreement says “[s]ubject to Young Living’s

acceptance of the Member Agreement, Young Living grants you the right to [] [p]urchase

Young Living products at wholesale prices.” See Ex. A at § 2. The Agreement further

provides guidelines for members to return unused or unwanted Young Living products

about which they are “dissatisfied.” See Ex. B at § 11.1.1. And the Agreement also governs

advertising and marketing claims regarding Young Living products. See Ex. B at § 5.3

(detailing the parties’ obligations regarding “product claims”).

       Plaintiff purchased the essential oils at issue in her lawsuit through her Young

Living membership, as evidenced by the fact that she paid wholesale prices (available only

to members) for such purchases. Barrow Decl. at ¶ 18. Furthermore, Plaintiff should be

aware of the applicability of the Agreement to disputes regarding marketing claims because

Young Living has previously invoked its rights under the Agreement in a dispute with

Plaintiff about her own inappropriate marketing claims in reselling Young Living essential

oil products—the exact issue Plaintiff challenges in her complaint. See Ex. D. at 1

(notifying Plaintiff that her own website’s advertising claims about Young Living products

“are not compliant with Section 5.3.1 of Young Living’s policies and procedures” because

they impermissibly suggest the products can be used in the “diagnosis, cure, mitigation,

treatment, or prevention of diseases”); see also id. (“As a member of Young Living[,] your

membership is governed and regulated by the [Policies and Procedures] . . .”).



                                             5
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 11 of 29




       On December 3, 2020, Plaintiff filed a putative class action in this Court on behalf

of a purported national class, a multistate class, and a Minnesota subclass. Her allegations

in support of each are largely the same: she alleges that Young Living misrepresented the

health-related benefits of its essential oils and other products by marketing them as being

“therapeutic-grade” and conferring “a healthy or medicinal benefit” that they did not

confer. See Dkt. 1 at ¶¶ 69-92.

       This dispute belongs in Utah, as the parties agreed.

III.   LEGAL STANDARD

       A “bifurcated system of analysis” applies to motions to transfer pursuant to

§ 1404(a), “depending upon whether a case involve[s] a forum-selection clause.” In re

Union Elec. Co., 787 F.3d 903, 906 (8th Cir. 2015). Where a valid forum-selection clause

exists, “proper application of 1404(a) requires that [the] clause be given controlling weight

in all but the most exceptional cases.” Atl. Marine Constr. Co. v. U.S. Dist. Ct., 571 U.S.

49, 59-60 (2013) (internal quotations omitted); see also United Fire & Cas. Co. v. Weber,

Inc., 434 F. Supp. 3d 729, 732 (D. Minn. 2020) (same). “[A] forum selection clause may

be set aside only where the enforcement of the clause would be ‘unjust or unreasonable or

invalid.’” United Fire, 434 F. Supp. at 733 (quoting M.B. Rests., Inc. v. CKE Rests., Inc.,

183 F.3d 750, 752 (8th Cir. 1999)). “This is a high bar, requiring, for example, that the

clause was included in the contract through ‘fraud or overreaching,’” id. (quoting M/S

Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 15 (1972)), or where a party would “for all

practical purposes be deprived of his day in court.” M/S Bremen, 407 U.S. at 18. But



                                             6
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 12 of 29




absent such extraordinary circumstances, “the interest of justice is served by holding parties

to their bargain.” Atl. Marine, 571 U.S. at 66 (quoting 28 U.S.C. § 1404(a)).

       If a court determines that the forum-selection clause is valid, it then considers the

public interest factors, particularly, “the administrative difficulties flowing from court

congestion; the local interest in having localized controversies decided at home; [and] the

interest in having the trial of a diversity case in a forum that is at home with the law.” Atl.

Marine, 571 U.S. at 62, n.6. The party opposing transfer bears the burden to show that

such factors “overwhelmingly disfavor” transfer to the agreed-upon forum. Graphic Sys.,

Inc. v. Avanti Comput. Sys. Ltd., 2018 WL 1277007, at *2 (D. Minn. Mar. 12, 2018) (Davis,

J.). Notably, where a valid forum-selection clause exists, the court may not consider

private interests such as access to evidence, the availability and cost of compulsory process

for attendance, and other practical problems affecting the convenience of the parties,

because the parties have already conceded such issues by agreeing upon the contractually-

specified forum. Id.

       In addition, even without a valid forum selection clause, a court may “[f]or the

convenience of the parties and witnesses, and in the interest of justice . . . transfer any

civil action to any other district or division where it might have been brought.” Perrill v.

Equifax Info. Servs., LLC, 2014 WL 2986665, at *3 (D. Minn. June 30, 2014) (Davis, J.).

And while “deference is [typically] given to the plaintiff[’s] choice of forum,” as this Court

has acknowledged, such deference is “greatly reduced” and should not defeat a transfer

motion where the plaintiff has, among other things, proposed a nationwide class and the

facts show that the witnesses and evidence are housed in another, more convenient, forum.

                                              7
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 13 of 29




See, e.g., id. at *6 (transferring putative nationwide class action from Minnesota to Texas

on the basis that “[c]ritical events” occurred there and the majority of witnesses and

evidence resided there).

       In determining whether to transfer a case under § 1404(a), a court “is not limited to

a determination on the pleadings. A court may consider undisputed facts, presented

through affidavits, depositions, stipulations, and other relevant documents.” Bae Sys. Land

& Armaments L.P. v. Ibis Tek, LLC, 124 F. Supp. 3d 878, 883 (D. Minn. 2015).

IV.    ARGUMENT

       The Court should transfer this case to the District of Utah for at least two reasons.

First, the Court can, and should, transfer the case under § 1404(a) to the District of Utah

because the parties agreed to resolve their disputes in that forum, and no public interest

factors counsel or compel ignoring that agreement. Second, in the alternative, the Court

can, and should, transfer the case under a traditional § 1404(a) analysis because the District

of Utah is the more convenient forum for resolution of the parties’ dispute and, critically,

the appropriate forum to compel arbitration in Utah.

       A.     The Court Should Enforce the Parties’ Agreed-Upon, Mandatory
              Forum-Selection Clauses Under § 1404(a).

              1.     Plaintiff Consented to the Agreement and Its Forum-Selection
                     Clauses.

       The parties’ Agreement includes unambiguous, mandatory forum-selection clauses

that require any dispute between the parties to be decided—whether in arbitration or

court—in Salt Lake City, Utah:




                                              8
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 14 of 29




       [A]ny controversy or claim arising out of or relating to the Agreement, or the
       breach thereof, will be settled by arbitration.
       . . .
       Jurisdiction and venue of any matter not subject to arbitration will reside
       exclusively in any state or federal court located in Salt Lake City, Utah. .
       . . . .
       The parties consent to jurisdiction and venue before any state or federal court
       located in Salt Lake City, Utah, for any legal action not subject to
       arbitration.

See Ex. B at §§ 13.2.2-13.3 (emphasis added); Ex. A at § 11 (emphasis added).

       As set forth in detail above, Plaintiff most recently consented to these provisions in

February 2020 by affirmatively clicking a checkbox below conspicuous hyperlinks to the

Agreement containing these terms and next to clear notice that “By clicking this box, I

agree to these statements and to be bound by the terms and conditions of the Agreement .

. . .” Barrow Decl. at ¶ 14. This clear and conspicuous notice accompanied by an

affirmative act of acceptance constitutes consent.      See, e.g., Rasschaert v. Frontier

Commc’ns Corp., 2013 WL 1149549, at *6 (D. Minn. Mar. 19, 2013) (“In fact, most courts

that have considered the issue have upheld arbitration and forum selection clauses in so-

called clickwrap or shrinkwrap form contracts, which occur when the terms are provided

online or only after plaintiffs have manifested assent.”) (internal quotations omitted);

Heath v. Travelers Cos., 2009 WL 1921661, at *4 (D. Minn. July 1, 2009) (“[Plaintiff]

clicked an emailed hyperlink to indicate that he had read, understood, and agreed to be

bound by the Arbitration Policy. This conduct was sufficient to manifest his assent to be

bound by the Arbitration Policy.”); Siebert v. Amateur Athletic Union of the U.S., Inc., 422

F. Supp. 2d 1033, 1039-40 (D. Minn. 2006) (“The AAU requires that those wishing to

become members ‘click’ on the page which states that any disputes are subject to

                                             9
           CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 15 of 29




arbitration. This Court finds that the ‘click’ represents assent to the contract, including the

arbitration clause.”). Plaintiff is therefore bound by the Agreement and its forum-selection

clauses.

       At least two federal courts have reached the same conclusion with respect to Young

Living’s member agreements and consent process specifically. In those cases, Young

Living members similarly attempted to ignore the forum-selection clauses in their

respective member agreements, but both courts held that the forum-selection clauses in the

agreements were valid, mandatory, and required transfer to Salt Lake City, Utah. See, e.g.,

O’Shaughnessy v. Young Living Essential Oils, LC, No. 1:19-cv-00412-LY, ECF No. 74

at 9 (W.D. Tex. June 29, 2020) (concluding that “[t]he provisions concerning jurisdiction

and venue in the Member Agreement and Policies and Procedures signed by the parties

constitute a valid forum-selection clause”); Penhall v. Young Living Essential Oils, LC,

3:19-cv-02340-JLS-RBB, ECF No. 36-1 (S.D. Cal. Aug. 17, 2020) (same). 5

                2.   The Forum-Selection Clauses Apply to Plaintiff’s Claims.

       Not only did Plaintiff agree to the forum selection clauses in the Agreements, the

dispute presented here falls within their scope.

       The Agreement broadly requires the parties to resolve “any controversy or claim

arising out of or relating to the Agreement” in Salt Lake City, Utah. See Ex. B at §§

13.2.2-13.2.3 (emphasis added); see also Ex. A at § 11 (“[t]he parties consent to jurisdiction




5
    As noted above, Young Living has provided copies of these orders as Exhibits A-B to
    the Schleicher Declaration.

                                              10
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 16 of 29




and venue before any state or federal court located in Salt Lake City, Utah, for any legal

action not subject to arbitration.”) (emphasis added). “Courts read forum selection clauses

using such language [i.e., ‘pertaining’ or ‘relating’] broadly” and apply them to tort claims.

DesignSense, Inc. v. MRIGlobal, 2013 WL 3205569, at *2 (D. Mo. June 25, 2013); see

also Leonard v. Del. N. Cos. Sport Serv., 861 F.3d 727, 731 (8th Cir. 2017) (holding that

arbitration provision requiring “any dispute arising from [plaintiff’s work]” applied to

plaintiff’s fraud claim); Fleet Tire Serv. of N. Little Rock v. Oliver Rubber Co., 118 F.3d

619, 621 (8th Cir. 1997) (holding that “arising from” or “relating to” language in arbitration

agreement “constitutes the broadest language the parties could reasonably use to subject

their disputes to that form of settlement”).

       In her Complaint, Plaintiff alleges that Young Living purportedly made

misrepresentations about the health and wellness benefits of its products, and as a result

Plaintiff was overcharged for her purchases of those products. Dkt. No. 1 ¶¶ 17-28.

Plaintiff purchased these products at discounted prices pursuant to her member relationship

with Young Living. See Ex. A at § 2; see also Barrow Decl. at ¶ 18. Plaintiff seeks

damages relating to these purchases on the basis of consumer fraud, deceptive trade

practices, and unjust enrichment claims. See Dkt. No. 1 at ¶¶ 69-98. These claims arise

out of and relate to the Agreement between the parties because the Agreement governs the

parties’ rights and obligations with respect to the purchase of, and disputes about,

members’ purchases of Young Living products, as outlined below.

       First, the Agreement “grants” members the exclusive “right” to, among other things,

“[p]urchase Young Living products at wholesale prices.” Ex. A at § 2. Given that Plaintiff

                                               11
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 17 of 29




paid wholesale prices for the products challenged in her Complaint, she necessarily

purchased them pursuant to the Agreement. Barrow Decl. at ¶¶ 16-18.

       Second, the Agreement also governs the parties’ rights and responsibilities with

respect to product complaints and outlines procedures by which members can seek refunds

and returns for any product about which they are “dissatisfied.” Ex. B at § 11.

       Finally, the Agreement also outlines the parties’ rights and responsibilities with

respect to product marketing and advertising claims relating to Young Living products—

exactly the kinds of claims that Plaintiff challenges in this suit. See id. at § 5. In fact,

Young Living has previously invoked the Agreement against Plaintiff because Young

Living believed Plaintiff made unsubstantiated claims regarding the health and wellness

benefits of Young Living essential oil products—in other words, the same kinds of claims

that are now the crux of Plaintiff’s complaint against Young Living. Compare Ex. D at 1

(“Recently it has come to our attention that you control and or operate the following

[websites] . . . that currently contain claims about Young Living’s products that are (1)

not supported by competent and reliable science, and/or (2) the claims are intended to

diagnose, mitigate, cure, prevent or treat diseases”), with Dkt. No. 1 at ¶¶ 34-36 (alleging

that representations on Young Living products “are false or misleading or were not

substantiated at the time the representations were made”).         Plaintiff’s claims thus

undoubtedly “aris[e] out of” or “relate to” the Agreement. Fleet Tire Serv. of N. Little

Rock, 118 F.3d at 621.

       It is of no moment that Plaintiff did not cite the Agreement in her Complaint.

Plaintiffs cannot avoid forum selection clauses by failing to cite an applicable agreement

                                            12
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 18 of 29




in their pleadings. See Terra Int’l, Inc. v. Miss. Chem. Corp., 119 F.3d 688, 695 (8th Cir.

1997) (“Strategic or artfully drawn pleadings, however, will not work to circumvent an

otherwise applicable forum selection clause.”); Bae Sys. Land & Armaments L.P, 124 F.

Supp. 3d at 883 (a court may look outside the pleadings to consider “undisputed facts,

presented through affidavits, depositions, stipulations, and other relevant documents,” in

connection with a motion to transfer venue). A facial analysis of the claims and facts

alleged in the Complaint is all that is necessary to determine whether the dispute falls

within the broad orbit of the forum selection clause here, and given that Plaintiff’s claims

relate directly to her purchases made pursuant to the Agreement, this dispute is well within

its scope. UAW v. Gen. Elec. Co., 714 F.2d 830, 831-32 (8th Cir. 1983) (whether a party’s

claim is subject to an arbitration agreement is a matter of contract construction, which is a

question of law).

              3.     The Forum-Selection Clauses Are Valid and Enforceable.

       Where a forum-selection clause applies, “courts generally enforce that agreement

unless it is unjust or unreasonable.” Hitachi Cap. Am. Corp. v. McCollum, 2020 WL

3977229, at *6 (D. Minn. July 14, 2020). The party opposing the enforcement of the

forum-selection clause bears the burden of showing the clause is unjust or unreasonable,

Atl. Marine, 571 U.S. at 581, and must do so by showing that (1) the clause is the product

of fraud or overreaching; (2) the party would effectively be deprived of her day in court if

the clause is enforced; or (3) enforcing the clause would contravene the public policy of

the forum in which suit is brought, Hitachi Capital, 2020 WL 3977229 at *7. None of

these factors are present here.

                                             13
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 19 of 29




       As a threshold matter, Plaintiff cannot argue that the forum-selection clauses were

the product of fraud or overreaching. The clauses were “clearly written and [] obvious,

distinct paragraphs” in the Agreement that Plaintiff voluntarily executed. See id. at *8;

Gen. Mills Operations, LLC v. First Star Custom Foods, Ltd., 789 F. Supp. 2d 1148, 1158

(D. Minn. 2011), aff’d, 703 F.3d 1104 (8th Cir. 2013) (noting that “small and boilerplate”

print is “not enough to render the contract unenforceable”). Nor can Plaintiff argue that

the clauses are unreasonable because she failed to review them before executing the

Agreement. Hitachi Capital, 2020 WL 3977229 at *9 (“[A]ny suggestion that [plaintiff]

failed to review these specific terms before signing does not, in any way, make these

clauses the product of overreaching or otherwise unreasonable.”).            In fact, and as

previously discussed, Plaintiff was required to, and did, check a box certifying that she had

read the Agreement. See Barrow Decl. at ¶ 11.

       Plaintiff fares no better under the second or third factors. With respect to the second

factor, it is well established that “mere inconvenience to a party is an insufficient basis to

defeat an otherwise enforceable forum selection clause.” Servewell Plumbing, LLC v. Fed.

Ins. Co., 439 F.3d 786, 790 (8th Cir. 2006) (internal citations and quotations omitted).

Rather, “a party seeking to avoid [her] promise must demonstrate that proceeding in the

contractual forum will be so gravely difficult and inconvenient that [she] will be for all

practical purposes deprived of [her] day in court.” Id. Such circumstances are not present

here. At worst, Plaintiff can argue that she would incur more expenses litigating this

dispute in Utah than Minnesota, but that is simply not enough to overcome the parties’

agreement. See Brown v. Glob. Cashspot Corp., No. 17-cv-1348 (JRT/DTS), 2017 WL

                                             14
         CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 20 of 29




3278938, at *2 (D. Minn. July 14, 2017) (“[T]he higher cost alleged . . . to litigate in

Nevada does not rise to the level of depriving [defendant] of his day in court.”); M.B. Rests.,

Inc. v. CKE Rests., Inc., 183 F.3d 750, 753 (8th Cir. 1999) (enforcing a forum-selection

clause requiring litigation in Utah over plaintiff’s objection that he could not afford to

litigate there).

       Finally, Plaintiff cannot show that the forum-selection clauses contravene

Minnesota’s public policy. To the contrary, “Minnesota courts routinely enforce such

clauses and [] there is no public policy in Minnesota that contravenes the[ir] enforcement.”

Airtel Wireless, LLC v. Mont. Elec. Co., 393 F. Supp. 2d 777, 785 (D. Minn. 2005).

       Accordingly, the Agreement’s forum-selection clauses are valid and enforceable.

               4.    The Public Interest Factors Weigh in Favor of Transferring the
                     Case to the District of Utah.

       As explained by the United States Supreme Court in Atlantic Marine, once a court

determines that a forum-selection clause is valid and enforceable, all that is left is for a

court to examine the public interest factors that are part of a traditional § 1404(a) transfer

analysis. 571 U.S. at 64. Even then, “because [public-interest] factors will rarely defeat a

[forum-selection clause], the practical result is that forum-selection clauses should control

except in unusual cases.” Id. This is not one of those “unusual” cases. All three public

interest factors—the local interest in having localized controversies decided at home;

administrative difficulties flowing from court congestion; and the interest in having the

trial of a diversity case in a forum at home with the law—weigh in favor of transfer. See,

e.g., Hitachi Capital, 2020 WL 3977229, at *13.


                                              15
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 21 of 29




       First, the local interest in having localized controversies decided at home heavily

favors enforcing the forum-selection clauses.        Here, Defendant Young Living is

headquartered in Utah and employs thousands of employees, some of whom are potential

witnesses, in that forum. McKasson Decl. at ¶ 2. Plaintiff, meanwhile, entered into a

business relationship with a Utah corporation; agreed to have Utah law govern disputes

between the parties; agreed to resolve disputes in arbitration in Utah; and based her claims

on the alleged misrepresentations Young Living made in Utah. This factor thus favors the

Utah forum.

       Second, issues of administrative congestion also favor Utah. According to the most

recent Federal Court Management Statistics, the median time between filing and

disposition of a lawsuit in the District of Utah is 10.4 months, while the median time in

Minnesota is 14.2 months—approximately 27% longer. 6

       Third, the last factor (concerning trial of a diversity case in a forum “at home with

the law”) also favors a transfer. While Plaintiff brought claims under various states’ laws,

including Minnesota’s, those claims are improper, as she agreed that “[t]he Agreement will

be governed by and construed in accordance with the laws of the State of Utah without

regard to principles of conflicts of laws.” Ex. B at § 13.3. But even if other states’ laws

were to apply, this would be insufficient on its own to deny a transfer, particularly given



6
    See United States District Courts, National Judicial Caseload Profile (2020), available
    at
    https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0930.202
    0.pdf.

                                            16
           CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 22 of 29




that Plaintiff’s lawsuit does not raise any novel or complex questions of law, and the

District of Utah is presumptively capable of applying the laws of Minnesota. See Klatte v.

Buckman, Buckman & Reid, Inc., 995 F. Supp. 2d 951, 957 (D. Minn. 2014) (“In any event,

even if Minnesota law were to apply, federal district courts are ‘faced almost daily with the

task of applying some state’s law other than [their own], and [they are] capable of resolving

. . . dispute[s] under another state’s law.’”) (quoting Hughes v. Wal-Mart Stores, Inc.,

250 F.3d 618, 620 (8th Cir. 2001)).

       Accordingly, the public factors considerations uniformly weigh in favor of transfer,

and the Court may end its analysis there.

       B.       Alternatively, the Court Should Transfer this Case to the District of
                Utah Because It Is the More Convenient Venue.

       Alternatively, even if the Court takes issue with the applicability of the Agreement’s

forum selection clause, the Court may transfer the case to Utah under a traditional § 1404(a)

analysis because a transfer “will serve the convenience of the parties and witnesses and

will promote the interests of justice.” 28 U.S.C. § 1404(a). A traditional § 1404(a) analysis

requires consideration of both public and private factors. See Terra Int’l, 119 F.3d at 691

(recognizing the analysis requires a “case-by-case evaluation of the particular

circumstances at hand and a consideration of all relevant factors”). As explained above,

supra Section IV.A.4, the public factors favor Utah. As explained below, so do the private

factors.




                                             17
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 23 of 29




              1.     The District of Utah Is a Proper Venue.

       As an initial matter, Plaintiff could have brought this action in the District of Utah,

as venue is proper where the defendant “reside[s].” 28 U.S.C. § 1391(b)(1). An entity

with capacity to sue and be sued, such as Young Living, resides “in any judicial district in

which such defendant is subject to the court’s personal jurisdiction with respect to the civil

action in question.” 28 U.S.C. § 1391(c)(2). Here, Young Living resides in Utah because

Young Living is headquartered there, it is the forum where alleged misrepresentations were

made, and it is where Young Living employs thousands of employees and potential

witnesses. Declaration of Daniel McKasson (“McKasson Decl.) at ¶ 2. Additionally, the

District of Utah would have subject matter jurisdiction over this action for the same reason

this Court does. See 28 U.S.C. § 1332(d)(2).

              2.     The Convenience of the Parties and Witnesses Favors Transfer to
                     Utah.

       With respect to the second factor, Utah is also the more convenient forum. Because

Young Living is headquartered in Utah, nearly all sources of proof, including relevant

documents regarding marketing claims, substantiation, and sales, are located there.

McKasson Decl. at ¶ 4. See also In re Apple, Inc., 602 F.3d 909, 914 (8th Cir. 2010)

(finding that transferee court would be more convenient in part because “much of Apple’s

relevant documentary evidence is located in its Cupertino headquarters”). The same is true

for witnesses: most of the individuals with relevant knowledge reside in Utah, some of

whom are former Young Living employees beyond the subpoena power of this Court.

McKasson Decl. at ¶ 2. Indeed, company records show 3,658 current or former Young


                                             18
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 24 of 29




Living employees with current or last-known home addresses in Utah, whereas only one

former Young Living worker, a farmhand, was identified with a Minnesota address.

McKasson Decl. at ¶¶ 2-3. The convenience of the witnesses therefore weighs in favor of

transfer. See Graff, 33 F. Supp. 2d at 1121 (convenience of the witnesses is an important

factor because it determines the “relative ease of access to sources of proof”); In re Apple,

602 F.3d at 914 (“Apple’s witnesses will suffer the ‘personal costs associated with being

away from work, family, and community.’ These costs would be significantly minimized

or avoided by transfer to Northern California”).

              3.      The Interests of Justice Favor Transfer to Utah.

       In evaluating the interests-of-justice factor, courts consider: (1) judicial economy,

(2) the plaintiff’s choice of forum, (3) the comparative costs to the parties of litigating in

each forum, (4) each party’s ability to enforce a judgment, (5) obstacles to a fair trial, (6)

conflict of law issues, and (7) the advantages of having a local court determine local law.

Klatte, 995 F. Supp. at 957. At least four of these factors favor transfer in this case.

       Judicial economy favors transfer because, as previously discussed, the median time

between filing and disposition of a lawsuit is faster in the District of Utah than the District

of Minnesota. In any event, because the Court has yet to invest significant resources into

this case, transfer would not require duplication of effort or otherwise waste judicial

resources. See In re Trusteeship Created by JER CRE CDO 2005-1, Ltd., No. 12-2791

(MJD/JSM), 2013 WL 1364258, at *4 (D. Minn. Apr. 4, 2013) (“This Court has not yet

invested resources in this case. Transfer would not entail duplication because the case is

at a very early stage.”).

                                              19
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 25 of 29




       Comparative costs to the parties also weighs in favor of transfer. As set forth above,

Young Living will incur far greater costs by litigating this matter in Minnesota than

Plaintiff would by litigating in Utah because of the number of Young Living employees

and nonparty witnesses that live in Utah. See In re Apple, 602 F.3d at 913.

       For the same reason, the fifth factor (obstacles to a fair trial) also weighs in favor of

transfer. Given the potential for nonparty witnesses that reside in Utah and the strong

preference of courts for live testimony, litigating in Minnesota would pose an obstacle to

Young Living receiving a fair trial. See Klatte, 995 F. Supp. 2d at 957 (“In addition, given

the strong preference for live testimony, litigating in Minnesota presents an obstacle to

Buckman receiving a fair trial, as several key witnesses are not located within the subpoena

power of this Court. Litigating in New Jersey ameliorates each of these problems.”).

       Finally, the fourth factor (each party’s ability to enforce a judgment) weighs in favor

of transfer because Young Living does not regularly maintain assets in Minnesota,

McKasson Decl. at ¶ 5, and Plaintiff would have to enforce any judgment obtained in the

District in Utah. See Valspar, 50 F. Supp. 3d at 1157 (“Valspar’s inability to enforce a

judgment in this state also favors transfer. Kronos has no offices in Minnesota and there

is no suggestion it has assets here, and hence Valspar appears unable to enforce a judgment

against it in this state[.]”); Klatte, 995 F. Supp. 2d at 957 (“Buckman has no offices in

Minnesota and there is no suggestion it has assets here, and hence Plaintiffs appear unable

to enforce a judgment against it in this state.”).

       Most of the interests of justice factors thus weigh in favor of transfer. Indeed, only

the second, sixth, and seventh factors could arguably weigh against transfer, and these

                                              20
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 26 of 29




factors are less important in this case. With respect to the second factor, a plaintiff’s choice

of forum is entitled to “greatly reduced” deference where, as here, Plaintiff seeks to

represent a nationwide class that is likely to be comprised mostly of non-Minnesotans. See,

e.g., Perrill, 2014 WL 2986665, at *5; see also Klatte, 995 F. Supp. 2d at 957 (holding that

plaintiff’s choice of forum “garners less weight where, as here, the claims alleged in the

action do not arise in the forum state”). Moreover, with respect to the sixth and seventh

factors, as discussed above, the parties have agreed that Utah law governs their Agreement.

But “even if Minnesota law were to apply, federal district courts are ‘faced almost daily

with the task of applying some state’s law other than [their own], and [they are] capable of

resolving . . . dispute[s] under’ another state’s laws.” Id. (quoting Hughes v. Wal-Mart

Stores, Inc., 250 F.3d 618, 620 (8th Cir. 2001)). Thus, these neutral factors do not

themselves justify keeping this case in this Court.

       Finally, the interests of justice weigh in favor of a transfer for a separate,

independent reason. See Terra Int’l, 119 F.3d at 691 (concluding that a district court may

consider any relevant circumstance). Specifically, because most courts have held that only

a district court in the agreed-upon forum has authority to compel arbitration, see n.2, supra,

transfer may be viewed a prerequisite to Young Living’s ability to invoke the parties’

arbitration clause. Thus, denying Young Living’s motion would needlessly complicate

Young Living’s right, and unfairly excuse Plaintiff’s obligation, to resolve this case

through arbitration. Given that federal policy strongly favors arbitration, Dominion Austin

Partners, L.L.C. v. Emerson, 248 F.3d 720 (8th Cir. 2001), the Court should transfer the

case so that Young Living can begin the process to compel arbitration pursuant to the

                                              21
        CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 27 of 29




parties’ Agreement.

       For these reasons, the interests of justice weigh in favor of transfer, and the Court

should grant Young Living’s motion to transfer venue.

V.     CONCLUSION

       The Court should give effect to the parties’ Agreement. Because the two forum-

selection clauses governing the relationship between the parties require that this dispute be

resolved in Utah, and because Utah is the more convenient forum, the Court should transfer

the case to the United States District Court for the District of Utah, Salt Lake City Division.

Dated: January 19, 2021
                                              Respectfully submitted,

                                              MASLON LLP

                                              By: /s/ Steven Schleicher
                                              Steven Schleicher (#0260587)
                                              Stephanie M. Laws (#0396174)
                                              3300 Wells Fargo Center
                                              90 South Seventh Street
                                              Minneapolis, MN 55402-4140
                                              Telephone: (612) 672-8200
                                              steve.schleicher@maslon.com
                                              stephanie.laws@maslon.com

                                              KIRKLAND & ELLIS LLP

                                              Olivia Adendorff
                                              (admitted Pro Hac Vice)
                                              Jeremy A. Fielding
                                              (admitted Pro Hac Vice)
                                              Rachael A. Rezabek
                                              (admitted Pro Hac Vice)
                                              1601 Elm Street
                                              Dallas, TX 75201
                                              Telephone: (214) 972-1770
                                              olivia.adendorff@kirkland.com

                                              22
CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 28 of 29




                              jeremy.fielding@kirkland.com
                              rachael.rezabek@kirkland.com

                              Attorneys for Defendant




                              23
       CASE 0:20-cv-02450-MJD-LIB Doc. 17 Filed 01/19/21 Page 29 of 29




                          CERTIFICATE OF SERVICE

      The undersigned certifies that on January 19, 2021 a copy of the foregoing was
forwarded to all counsel of record via the Court’s ECF filing system.

Robert K. Shelquist
Rebecca A. Peterson
Lockridge Grindal Nauen P.L.L.P.
100 Washington Avenue South, Suite 2200
Minneapolis, Minnesota 55401
rkshelquist@locklaw.com
rapeterson@locklaw.com

Gary M. Klinger
Mason Lietz & Klinger LLP
227 W. Monroe Street, Suite 2100
Chicago, Illinois 60606
gklinger@masonllp.com


                                             /s/ Steven Schleicher
